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            IN THE UNITED STATES DISTRICT COURT
       FOR THE WESTERN DISTRICT OF PENNSYLVANIA
 DONALD J. TRUMP FOR
 PRESIDENT, INC., et al.,

                       Plaintiffs,
    v.

 KATHY BOOCKVAR, et al.,

                       Defendants.              No. 2:20-cv-966-NR

         RESPONSE OF DEFENDANT LUZERNE COUNTY BOARD OF
                ELECTIONS TO PLAINTIFFS’ MOTION FOR
             A SPEEDY DECLARATORY JUDGMENT HEARING
                     AND EXPEDITED DISCOVERY

         Defendant Luzerne County Board of Elections, by and through the

undersigned counsel, files the instant Response in Opposition to Plaintiffs’ Motion

for a Speedy Declaratory Judgment Hearing and Expedited Discovery in the above

captioned matter.

         I.       FACTUAL BACKGROUND AND PROCEDURAL HISTORY

         In their Complaint, Plaintiffs allege that the Defendants’ administration of

Pennsylvania’s June 2, 2020 Primary Election, which was the first election following

the General Assembly’s enactment of Act 77 on October 31, 2019, resulted in

presumed violations of state and federal law from Defendants hastily moving to a
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mail-in voting system. See Complaint, generally. Plaintiffs’ Complaint is premised

on an assumption that Defendants will administer the upcoming November 3, 2020

General Election in a manner identical to the June 2, 2020 Primary Election 1, and to

that end seeks orders, declarations, and/or injunctions seeking to “prevent

Defendants from making the same mistake twice.” See Complaint at ⁋ 144.

       Plaintiffs’ underlying Motion seeks a speedy declaratory judgment hearing on

Plaintiffs’ claims and expedited discovery.               Plaintiffs’ requested relief is

unnecessary and inappropriate for the reasons set forth below. The Motion is

premature in that Defendants have not yet filed Motions to Dismiss pursuant to Rule

12(b). Plaintiffs’ claims do not lend themselves to declaratory relief on any basis,

and particularly not on an expedited basis. Thus, Plaintiffs fail to meet the standard

for declaratory relief upon which their request for expedited discovery is predicated.

Furthermore, Plaintiffs independently fail to meet the standard for expedited

discovery.




1
 Pennsylvania’s Primary Election took place on June 2, 2020 “amid civil unrest, a pandemic, the
introduction of new voting machines in some counties and the debut of mail-in balloting that
pushed county election bureaus to their limits.” See M. Scolforo, “Trump, Biden Win
Pennsylvania Primary Amid Unrest, Pandemic,” Associated Press, Wire Service Content (Jun. 2,
2020) (available at https://www.usnews.com/news/best-states/pennsylvania/ articles/ 2020-06-
02/pennsylvania-primary-begins-despite-unrest-pandemic) (accessed July 13, 2020).
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      II.    ARGUMENT

             A. Plaintiffs’ Underlying Motion is Premature.

      Plaintiffs’ request is premature because the Plaintiffs have not demonstrated

that any of their pleaded claims can withstand the forthcoming Motions to Dismiss

pursuant to Rule 12(b). Plaintiffs’ Complaint presents significant issues ripe for

12(b) Motions, including those regarding the standing of the Plaintiffs in this action,

the propriety of the venue, and whether Plaintiffs have pleaded valid claims.

      Furthermore, a speedy hearing motion is premature where a responsive

pleading has not yet been filed. See, e.g., Drinan v. Nixon, 364 F. Supp. 853, 854

(D. Mass. 1973) (“Implicit in [Rule 57], however, is the assumption that prior to

such order for a speedy hearing, the matter in issue will have been joined by the

filing of a responsive pleading.”); Perry v. Correct Care Sol’ns, LLC, No.

1:17CV586 (LO/IDD), 2017 WL 11519168, at *3 (E.D. Va. June 2, 2017)

(“Plaintiff’s request for expedited review under Federal Rule of Civil Procedure 57

must also be denied as premature. . . . Implicit in Rule 57 . . . is the assumption that

prior to any such order, the matter in issue will have been joined by the filing of a

responsive pleading.” (internal quotation marks omitted)).

             B. Plaintiffs’ Claims Do Not Lend Themselves to Declaratory
                Relief.

      Plaintiffs’ claims do not lend themselves to declaratory relief because

Plaintiffs essentially seek an impermissible advisory opinion from this Court in the
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form of a declaration that the Defendants’ past conduct, specifically the

administration of the June 2, 2020 Primary Election, was illegal. See Corliss v.

Obrien, 200 Fed. Appx. 80 (3d. Cir. 2006) (A request for declaratory relief is not an

appropriate avenue to challenge violations of rights that have already occurred.)

       Plaintiffs’ requested relief not only asks this Honorable Court to issue an

impermissible advisory opinion, but further asks this Court to make the faulty

assumption that the Defendants will administer the November 3, 2020 General

Election in the same manner that they administered the June 2, 2020 Primary

Election - a supposition which is legally and logically faulty. The circumstances

leading up to and during the June 2, 2020 Primary Election were unprecedented and

included civil unrest, a global pandemic, the introduction of new voting machines in

22 counties and the debut of mail-in balloting. See M. Scolforo, “Trump, Biden Win

Pennsylvania Primary Amid Unrest, Pandemic,” Associated Press, Wire Service

Content (Jun. 2, 2020) (available at https://www.usnews.com/news/best-

states/pennsylvania/   articles/   2020-06-02/pennsylvania-primary-begins-despite-

unrest-pandemic).

      Further, Plaintiffs’ will apparently ask the court to make this supposition, that

Defendants will administer the November 3, 2020 General Election in the same

manner as the June 2, 2020 Primary Election, without having requested in discovery

any evidence to support their claim. Plaintiffs’ Motion identifies eleven (11) ‘topics’


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for their proposed expedited discovery. Each of the eleven (11) discovery ‘topics’

relates to information about Defendants’ past elections statistics, administration,

practices, and procedures. None of Plaintiffs’ requested discovery topics seek

prospective information about practices and procedures that Defendants will use to

administer the November 3, 2020 General Election.

      Accordingly, Plaintiffs’ Motion improperly seeks declaratory relief and their

request for such relief should be denied.

             C. Any Claim that Might Lend Itself to Declaratory Relief Should
                Not be Afforded an Expedited Hearing.

      Although it is Defendant’s position that none of Plaintiffs’ claims are proper

for declaratory relief, if this Honorable Court should find that one or more of

Plaintiffs’ claims are proper for declaratory relief, Defendant argues that Plaintiffs

should not be afforded an expedited hearing.

      While Rule 57 gives this Court the discretion to determine whether some or

all of Plaintiffs’ requests for a speedy declaratory judgment hearing are appropriate,

an examination of the factors that district courts look to when making such a

determination establishes that none of Plaintiffs’ claims warrant a speedy hearing.

One such factor is whether an expedited declaratory judgment “will streamline and

narrow issues for discovery and trial…” See County of Butler v. Wolf, 2:20-cv-677

Slip Copy (2020), 2020 WL 2769105, at *4. Plaintiffs’ concurrent requests for a

speedy declaratory judgment hearing alongside their requests for overly broad and
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unduly burdensome discovery related to eleven (11) identified topics upends the

spirit of this factor. Plaintiffs do not seek to narrow issues for trial, rather, Plaintiffs

seek overly broad expedited discovery and a speedy declaratory judgment hearing.

       Another factor which may support a speedy declaratory judgment hearing is

“when a determination is largely one of law and factual issues are not predominant.”

See id. The sheer volume of overly broad and unduly burdensome discovery and

lack of substantive factual information as pleaded in Plaintiffs’ Complaint

demonstrates that Plaintiffs’ requested determinations are largely factual in nature.

Thus, a speedy declaratory judgment hearing is improper.

              D. Plaintiffs’ Request for Expedited Discovery Should Be Denied.

       Plaintiffs’ request for expedited discovery should be denied because the

request is premature, and expedited discovery is unwarranted and unnecessary.

       This Court “should decide a motion for expedited discovery ‘on the entirety

of the record to date and the reasonableness of the request in light of all of the

surrounding circumstances, Bancroft Life & Casualty ICC, Ltd. v. Intercontinental

Captive Mgmt., Ltd., 10-0704, 2010 WL 11566472, at *2 (W.D. Pa 2010). In its

determination, this Court may consider “the timing between the start of formal

discovery and the date of the motion, how broadly or narrowly the discovery requests

are posed, the plaintiff’s purpose in requesting early discovery, the possible burden




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of early discovery on the defendant, and the ability of the defendant to respond to

the requests in an expedited manner.” See id. (internal citations omitted).

       Discovery on an expedited basis at this time is premature, as the Defendants

have not yet had an opportunity to file Motions to Dismiss Plaintiffs’ claims. A

determination on such motions will serve to narrow any remaining claims such that

meaningful discovery that is appropriately tailored can be exchanged between the

parties.

       Plaintiffs’ Motion identifies that they intend to serve overly broad and unduly

burdensome discovery related to eleven (11) identified ‘topics’ which, upon review,

are exclusively about past elections and related statistics, administration, practices,

and procedures. Many of the identified topics have no reasonable limitations on the

time or scope of the proposed topic of request. In contrast, Plaintiffs’ underlying

Complaint and the requested declaratory judgment hearing relate to the upcoming

November 3, 2020 General Election. The discovery sought is not appropriately

tailored or proportional to the claims contained in Plaintiffs’ Complaint and it is

improper for Plaintiffs to seek such irrelevant, broad, and burdensome discovery on

any basis, particularly an expedited basis.

       This is particularly so given that much of the discovery Plaintiffs seek is

already being compiled by Defendants and is anticipated to be publicly available on

August 2, 2020 pursuant to 71 P.S. § 279.6, titled “Report on implementation of


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2020 general primary election.” Under subsection (c), Luzerne County has until July

17, 2020 to compile and submit information to the Department of State. The

Department is then required to compile the information, issue a report to the

Pennsylvania Senate State Government Committee, and make the report publicly

available on the Department’s website. The Department must issue the report within

60 days of the primary election, or August 2, 2020. See 71 P.S. §279.6.

      To require Luzerne County to review, object, and respond to detailed written

requests from Plaintiffs before the Department makes this information publicly

available as required by law is an unnecessary expense and thus a hardship. A party

responding to discovery is typically not required to put that information in a format

suitable to the requesting party where the information is otherwise already

accessible. To require Luzerne County to draft written responses to requests, which

Luzerne County will need to do to preserve any objections to Plaintiffs’ yet-to-be-

disclosed requests, just to have the information released publicly, is a waste of

Luzerne County’s time and judicial resources. Additionally, requiring the relief

sought will cause undue hardship in that it will divert the County Defendants and the

Department’s manpower resources from its obligations to the public under 71 P.S.

§279.6. Consequently, Plaintiffs’ request for expedited discovery should be denied.




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                III. CONCLUSION

      In light of the above, Defendant Luzerne County Board of Elections

respectfully submits that neither a speedy Declaratory Judgment hearing nor

expedited discovery is warranted in this matter until such time as the Defendants

have had an opportunity to file the necessary Motions to Dismiss, and the Court has

ruled on those Motions. To the extent that any of Plaintiffs’ claims remain thereafter,

limited discovery may proceed on an expedited basis, if this Honorable Court deems

it necessary and appropriate.

      To that end, Defendant Luzerne County Board of Elections respectfully

requests that this Honorable Court deny Plaintiffs’ Motion and instead consider

entering an order establishing an expedited briefing schedule for Motions to Dismiss

to be followed by a conference of all parties to determine the best manner and

timeline for efficient and timely disposition of any remaining claims.

                                        Respectfully submitted,
DATED: July 13, 2020                    s/ Matthew J. Carmody
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                                        *Applications for Admission to the Western District of Pennsylvania
                                        will be filed upon receipt of Certificates of Good Standing



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                     Plaintiffs,
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 KATHY BOOCKVAR, et al.,

                     Defendants.                No. 2:20-cv-966-NR

                           CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a true and correct copy of the foregoing

Response of Defendant Luzerne County Board of Elections in Opposition to

Plaintiffs’ Motion for a Speedy Declaratory Judgment Hearing and Expedited

Discovery was filed electronically and served via the Court’s CM/ECF system,

pursuant to the Federal Rules of Civil Procedure.



                                                 s/ Matthew J. Carmody
                                                 Matthew J. Carmody
DATED: July 13, 2020




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